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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION
Bahia Amawi, John Pluecker, Obinna Dennar, §
Zachary Abdelhadi, George Hale                §        CIVIL NO:
                                              §        AU:18-CV-01091-RP
vs.                                           §
                                              §
Pflugerville Independent School District, Ken
Paxton, Board of Regents of the University of
Houston System, Trustees of the Klein
Independent School District, Trustees of the
Lewisville Independent School District, Board
of Regents of the Texas A&M University
System, State of Arizona

                    ORDER SETTING MOTIONS HEARING
        IT IS HEREBY ORDERED that the above entitled and numbered case is set for
MOTIONS HEARING in Courtroom 4, on the Fifth Floor, United States Courthouse, 501
West Fifth Street, Austin, TX, on Friday, March 29, 2019 at 09:00 AM. All parties and
counsel must appear at this hearing. The parties are notified that this hearing will also include
argument related to Clerk's Doc #14- Pluecker's original motion for preliminary injunction.

        IT IS SO ORDERED this 21st day of February, 2019.




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                                                ROBERT PITMAN
                                                UNITED STATES DISTRICT JUDGE
